                      UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA

HAYDEN SCOTT ROSE

           v.                                                           Case Number: 1:22CV478
PRESQUE ISLE VILLAS CONDOMINIUM
HOMEOWNERS ASSOCIATION, INC., et al.

                                            NOTICE
        TAKE NOTICE that a JURY TRIAL has been tentatively SET in the above-referenced
case for the OCTOBER 2, 2023 MASTER CALENDAR TERM. Said term shall begin on
October 2, 2023 at a place to be determined at a later date and will continue until all the cases on
the calendar have been tried. Cases will not necessarily be called for jury selection and trial
in the order in which they will appear on the calendar.

       PLACE:                 TO BE DETERMINED AT A LATER DATE.
       DATE & TIME:           October 2, 2023 at 9:30 a.m.
       PROCEEDING:            Jury Trial

       *Counsel will be notified of a date certain for trial closer to the start of the term.

         A settlement conference in the above-referenced case will be set for a date at least two
weeks before the commencement of the Master Calendar term. Counsel are directed to bring
their clients and a representative from the corporations to the settlement conference.

        The parties shall comply in all respects with Fed. R. Civ. P. 26(a)(3) regarding final
pretrial disclosure, including the time requirements set out therein. Unless the court orders
otherwise, pretrial disclosures must be made no later than September 1, 2023. Motions in
limine must be filed no later than September 8, 2023. Any objections to pretrial
disclosures and responses to motions in limine must be served and promptly filed no later
than September 15, 2023.

        Each party shall file a trial brief, along with proposed instructions on the issues no
later than September 11, 2023. Counsel shall consult and endeavor to file one (1) set of agreed
upon jury instructions to the extent practicable and may file competing jury instructions where
there is disagreement. An electronic Word version of the jury instructions shall be emailed to the
assigned district judge’s ECF mailbox.

John S. Brubaker, Clerk

By: /s/ Joy Daniel

Date: 2/10/2023

TO:    ALL COUNSEL AND/OR PARTIES OF RECORD




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